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         IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF GEORGIA
                     ROME DIVISION

ANTHONY COWARD and
WENDY COWARD,
                                         CIVIL ACTION FILE NO.
       Plaintiffs,                       4:15-CV-0245-HLM

V.


FORESTAR REALTY, INC.,
NEW TOWNE
PROPERTIES, LLC,
TEMCO ASSOCIATES,
LLC,
and JOHN DOES 1
THROUGH 15,

       Defendants.

                                   ORDER

        This case is before the Court on the Motion for

Sanctions            for   Spoliation     of    Electronically         Stored

Information ("Motion for Sanctions") filed by Defendants
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Forestar        Realty,     Inc.   and     Temco      Associates,      LLC

(collectively, the "Forestar Defendants") [97].

I.      Background

        A.    Procedural Background

        On December 18, 2015, Plaintiffs filed this lawsuit.

(Compl. (Docket Entry No. 1).)                On November 6, 2017,

the Forestar Defendants filed their Motion for Sanctions.

(Mot. Sanctions (Docket Entry No. 97).)                      The briefing

process for the Motion for Sanctions is complete, and the

matter is ripe for resolution by the Court.

         B.   Relevant Materials Submitted by the Parties

              1.    Plaintiff Wendy Coward's Deposition

        The Forestar Defendants filed excerpts from Plaintiff

Wendy Coward's deposition.                  (Dep. of Wendy Coward



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(Mot. Sanctions Ex. A (Docket Entry No. 97-1)).)^ Plaintiff

Wendy Coward testified that she remembered having two

small cameras installed at her mailbox and on the corner

of her house.      ( I d at 37.) According to Plaintiff Wendy

Coward, they "just thought it would be easier to have

video surveillance instead of trying to capture every time

it rained and having to be up at 2:30 in the morning when

you hear thundering and lightening [sic], wondering if it

was all coming in the garage or if it was mud or what was

going on at that point. . .."              Plaintiff Wendy Coward


      The Forestar Defendants filed all of their exhibits in one
single docket entry. (Mot. Sanctions Exs. (Docket Entry No. 97-
1); Reply Supp. Mot. Sanctions Exs. (Docket Entry No. 104-1).)
This is procedurally improper and causes the Court unnecessary
difficulties in locating, and in citing to, exhibits. The Court directs
counsel to file all exhibits in separate docket entries, rather than
simply filing all the exhibits as one docket entry. The Court also
notes that, while Plaintiffs filed their exhibits as separate docket
entries, each docket entry for an exhibit should include a brief
description of what that exhibit is or what it contains.
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testified that she did not know the whereabouts of the

camera or the recordings, and that she did not know

approximately when the cameras were put up, and that

the cameras were up for "[m]aybe a day or two." (Id. at

38.) Plaintiff Wendy Coward stated that Plaintiffs took the

cameras down "[b]ecause they weren't useful," as "it

would rain and the video would have rain in it and you

couldn't see." (Id) Plaintiff Wendy Coward stated that it

rained on the days that Plaintiffs had the cameras up.




^    Plaintiffs also submitted excerpts from Plaintiff Wendy
Coward's deposition; however, those excerpts do not add new,
relevant information. (Dep. of Wendy Coward (Docket Entry No.
103-3).)
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          2.    Deposition of Plaintiff Anthony Coward

    The Forestar Defendants also presented excerpts

from the deposition of Plaintiff Anthony Coward.               (Dep. of

Anthony Coward (Mot. Sanctions Ex. B (Docket Entry No.

97-1).) During Plaintiff Anthony Coward's deposition, the

following exchange occurred:

    Q. So no other cameras like on your mailbox or
    anywhere else?

    A. I did put them up for 30 seconds and it was
    not what I wanted so then they came down.

    Q. What do you mean?                Where did you put a
    camera at?

    A. We thought about putting cameras up and
    we did put one on the mailbox and one at the
    corner of our house and they came down.

     Q.   When did you put them up?




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   A. Probably - I can't remember. It was close
   to - probably a couple of months after we
   retained him (pointing to [Plaintiffs' counsel]).

   Q. So during the course of the lawsuit you had
   a camera on your mailbox and one at the corner
   of your house; correct?

   A.    They stayed up for one night.

   Q. You had a camera on your mailbox and
   your house; correct?

   A.    Yes.

    Q. And you testified the camera was there one
    night?

   A. It was there for one night, one or two. It did
   not stay up because it was a waste of time. The
   cords ran through the yard.

    Q.   Why did you put the cameras up?

    A. I thought it would be easier than standing in
    lightening [sic] to video the water flow.

    Q.    How certain are you that the cameras were
    only up one night?
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   A. I am pretty certain. They were not up very
   long. I mean, it was one or two nights. Then
   they came down because, number one, the
   cords were running through the yard and the
   homeowners association is not going to allow it.

   Q. Did you turn over the videos from those
   nights?

   A. There was no video of rain or anything that
   happened.

   Q.    Did you turn over the videos?

   A.    No.

   Q.    How many hours of video were recorded?

   A. That night? Not much. I mean, probably
   six, seven, eight hours, something like that.

   Q. What happened to those videos?                     Do you
   still have them?

   A.    I would imagine.

    Q.   Are they on a hard drive or on a disk?


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      A. I'm not sure what they are on. There is
      nothing there but yeah, I will give them to him.

(Id at 6 6 - 6 8 . f

            3.      Deposition of Jon Vansant

      The Forestar Defendants submitted excerpts from

the deposition of Jon Vansant with their reply.                (Dep. of

Jon Vansant (Docket Entry No. 104-1).)                   Jon Vansant

stated that he "was aware there was cameras and videos

taken."       (Id      at 21.)   Jon Vansant testified that he

remembered seeing cameras on Plaintiffs' mailbox and

house.      (Id)       Jon Vansant estimated that the cameras

were there five or six months, stating that he "was out

there daily."          (Id at 22.) Jon Vansant guessed that the

^    Plaintiffs also submitted excerpts from Plaintiff Anthony
Coward's deposition; however, those excerpts do not add new
relevant information. (Dep. of Anthony Coward (Docket Entry
No. 103-4).)

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cameras were up "somewhere from spring of 2015 into

the fall of 2015." (Id)

          4.    Deposition of Henly Vansant

    The Forestar Defendants presented excerpts from

the deposition of Henly Vansant in support of their reply.

(Dep. of Henly Vansant (Docket Entry No. 104-1).) Henly

Vansant testified that he observed a camera system on

Plaintiffs' mailbox and house. (Id at 29.) Henly Vansant

did not know the date and the month when he observed

the system, guessing that "it might be late '16, but it could

have been the spring of '17," and stating that he did not

know how long the camera system remained in place.

(Id at 30.)      Henly Vansant testified that Jon Vansant

mentioned that Plaintiffs had a camera system, and then,



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one or two weeks later, Henly Vansant went out there

and saw the system, (id.)

           5.    July 27, 2015, Letter

     On July 27, 2015, Plaintiffs' counsel sent a Demand

to Abate Nuisance and Trespass to Defendants. (Docket

Entry No. 103-7.)

           6.    October 12, 2017, Letter

     On October        12, 2017, the Forestar             Defendants'

counsel sent a letter to Plaintiffs' counsel stating, in

relevant part:

     At their deposition, both [Plaintiffs] stated that
     they had installed a camera system on their
     home and mailbox for the purpose of recording
     "water flow" in the street. The cameras were
     installed during the pendency of this case and
     after you were retained to represent them in this
     matter. [Plaintiffs] testified the camera system
     was in place during rain events but that they had
     not produced the videos to us. To date, those
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     videos have not been produced, leaving us with
     the impression that the videos have been lost or
     destroyed.

(Docket Entry No. 103-5 at 2.)

              7.     October 31, 2017, Letter from Plaintiffs'
                     Counsel

     The Forestar Defendants presented a letter from

Plaintiffs'        counsel   dated   October    3 1 , 2017.         (Mot.

Sanctions Ex. C (Docket Entry No. 97-1).)                   That letter

stated, with respect to the videos:

     Plaintiffs have diligently attempted to access the
     files on this camera system. Unfortunately, due
     to the amount of time that has passed since they
     obtained the system and the fact that it is
     password-protected, [Plaintiffs] are no longer
     able to retrieve and/or copy the files. We will
     bring the video hard drive to the upcoming
     deposition of Chris White, which as you know
     will occur on Thursday, November 2, starting at
     1:00 p.m.     You are welcome to take the drive
     and attempt to access the videos thereon as


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      long as you agree to return the drive                         to
      [Plaintiffs] once your analysis is complete.

(id, a t 2 . f

             8.   October 31, 2017, Letter from the
                  Forestar Defendants' Counsel

      The Forestar Defendants presented a letter from

their counsel dated October 3 1 , 2017.              (Mot. Sanctions

Ex. D (Docket Entry No. 97-1).)               The letter stated, in

relevant part:

      Turning to the documents and videos that
       Plaintiffs] have not produced to date, your
      characterization that [Plaintiffs] cannot access
      the files from their camera system because of
      the passage of time and password-protection is
      not a legal justification for the spoliation that
      apparently has occurred. [Plaintiffs] testified that
      the camera system was installed after the c a s e
      had been filed and after your firm was
      retained in this matter. We are concerned that


     Plaintiffs also produced a copy of this letter. (Docket Entry
No. 103-6.)
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      Plaintiffs] were either not advised that a
     litigation hold was in place or that they ignored
     instructions to preserve photographs and videos
     that were created during the pendency of the
     litigation. Furthermore, you [sic] statement that
     the videos are password protected[] leaves us to
     conclude that [Plaintiffs] set the password and
     are the only persons able to unlock the system.
     And, your offer to provide a password protected
     video system to us[] misapprehends the burden
     of discovery - it is [Plaintiffs'] duty to provide the
     videos to us and not the Forestar Defendants'
     duty to attempt [to] recover videos from
      Plaintiffs'] system.

(Id. at 1-2 (emphasis in original).)

           9.   Affidavit of Wendy Coward

     Plaintiff Wendy Coward also filed an affidavit. (Aff. of

Wendy Coward (Docket Entry No. 103-1).)                         Plaintiff

Wendy      Coward       stated     that    Plaintiffs    "obtained     a

refurbished, Samsung-branded camera system" on or

about May 15, 2015. (\6, H 7.) The system had "at least


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three cameras and a hard drive for storing the images

taken by the cameras," and "[t]he hard drive is password-

protected." (Id.) Plaintiffs set up the camera system "to

capture areas that were flooding during rain events."               (id.

^ 8.)    According to Plaintiff Wendy Coward, Plaintiffs

"believed that installing the cameras to capture these

flooding events was safer than going outside with our

personal cameras each time a rain storm event occurred,

particularly given the presence of lightning and slippery

conditions that had resulted             in several falls."         (id.)

Plaintiffs set up the cameras "[s]oon after May 15, 2015,"

mounting the cameras on their mailbox, on the garage

side of the house, and on [their] porch."                    (id, ^ 9.)

Plaintiffs took the cameras down a day or so later

"because the system was cumbersome and required
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wires running throughout [their] front yard."               ( I d H 10.)

Plaintiffs did not access the system from the time they

removed it until their depositions on September 2 1 , 2017.

( I d H 11.) Plaintiffs attempted to access the system after

their    depositions,     but    they    cannot      remember        the

password to access it. ( I d ^ 12.) Plaintiffs have tried a

number of passwords and have called the manufacturer

twice to obtain a password reset.              ( I d H 13.)     Plaintiff

Wendy Coward further states that Plaintiffs "are working

diligently to access and copy any pertinent video files that

may exist." ( I d 1114.)

            10. Affidavit of Anthony Coward

        Plaintiff Anthony Coward also provided an affidavit.

(Aff. of Anthony Coward (Docket Entry No. 103-2).)

Plaintiff Anthony Coward stated that Plaintiffs "obtained a
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refurbished, Samsung-branded camera system" on or

about May 15, 2015. (Id, H 7.) The system had "at least

three cameras and a hard drive for storing the images

taken by the cameras," and "[t]he hard drive is password-

protected." (Id.) Plaintiffs set up the camera system "to

capture areas that were flooding during rain events." (jd,

  8.)   According to Plaintiff Anthony Coward, Plaintiffs

"believed that installing the cameras to capture these

flooding events was safer than going outside with our

personal cameras each time a rain storm event occurred,

particularly given the presence of lightning and slippery

conditions that had resulted in several falls."                     (jd.)

Plaintiffs set up the cameras "[s]oon after May 15, 2015,"

mounting the cameras on their mailbox, on the garage

side of the house, and on [their] porch."                    (Id, TI 9.)
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Plaintiffs took the cameras down a day or so later

"because the system was cumbersome and required

wires running throughout [their] front yard, which [they|

believed would be a violation of [their] homeowners'

association covenants."           ( I d H 10.)     Plaintiffs did not

access the system from the time they removed it until

their depositions on September 2 1 , 2017.                 ( I d K 11.)

Plaintiffs attempted to access the system after their

depositions, but they cannot remember the password to

access it.     ( I d H 12.)   Plaintiffs have tried a number of

passwords and have called the manufacturer twice to

obtain a password reset. ( I d H I S . ) According to Plaintiff

Anthony Coward, Plaintiffs "are working diligently to

access and copy any pertinent video files that may exist."

( i d 1114.)
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II.   Discussion

      A.   The Parties' Positions

      The Forestar Defendants argue that Plaintiffs had a

duty to preserve the videos               and that the         Forestar

Defendants suffered substantial prejudice from the loss of

the videos. (Br. Supp. Mot. Sanctions (Docket Entry No.

97) at 1-3, 7-8.)      The Forestar Defendants contend that

Plaintiffs installed the camera system after                   retaining

counsel. (Id, at 5.)       The Forestar Defendants argue that

Plaintiffs have not been able to access the videos, and

contend that the videos that Plaintiffs have produced do

not replace the lost videos.         (Id, at 8.) According to the

Forestar Defendants,          Plaintiffs' offer to produce          the

system to the Forestar Defendants to allow them to

attempt to unlock it does not comply with Federal Rule of
                                   18
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Civil Procedure 34(a)(1)(A). ( j d at 8 n.1.) The Forestar

Defendants argue that Plaintiffs cannot demonstrate that

the lost evidence is irrelevant, and argue that footage of

rain events is clearly relevant. (Id, at 9-10.) According to

the Forestar Defendants, the videos "would have shown

an unedited entire rain event" and could have shown that:

(1)   Plaintiffs'   improper      driveway       design     caused       the

flooding; (2) the        Forestar     Defendants'         installation    of

swales did not impact stormwater runoff to Plaintiffs'

street and residence; (3) the requirements of the General

Permit were         in   place    and functioning          properly;     (4)

sediment-laden stormwater was not present during a

rainfall event; and (5) other entities or homebuilders were

solely    responsible       for    Plaintiffs'    damages        or      the

violations. (Id, at 10.)
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     The Forestar Defendants contend that sanctions are

required under Federal Rule of Civil Procedure 37(e)(1),

at a minimum.        (Br. Supp. Mot. Sanctions at 11.)                The

Forestar Defendants argue that Plaintiffs' actions were

culpable because "Plaintiffs installed the camera system

for litigation purposes after the case was filed."                  (Id, at

12.) The Forestar Defendants also argue that "the facts

here support the conclusion that Plaintiffs acted with

intent to deprive the Forestar Defendants [of the] use of

the videos, justifying the more serious sanctions available

under    Rule    37(e)(2)."       (id, at     13.)     The     Forestar

Defendants request that the Court either: (1) find that

Plaintiffs acted intentionally, and order "(A) a presumption

that the lost information was unfavorable to [Plaintiffs]; (B)

an instruction to the jury that it must presume the
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information was unfavorable to [Plaintiffs]; and (C) the

costs and attorneys' fees associated with [the] Motion be

taxed to [Plaintiffs]" (id, at 14); or (2) find Plaintiffs did not

act with intent, and order: "(A) an instruction to the jury

that the video was not preserved; (B) an allowance for the

Forestar Defendants to present evidence and argument

at trial regarding [Plaintiffs'] destruction of, or failure to

preserve, the videos; (C) the preclusion of any evidence

or argument that the contents of the video corroborated

Plaintiffs' version of events; and (D) the costs                    and

attorneys' fees association [sic] with [the] Motion be taxed

to [Plaintiffs]" (id, at 15).

     In   response,      Plaintiffs     argue    that   no    evidence

supports the Forestar Defendants' spoliation contentions

or an award of sanctions. (Resp. Mot. Sanctions (Docket
                                   21
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Entry No. 103) at 2.) According to Plaintiffs, the "Motion

is little more than aggressive litigation posturing designed

to intimidate and harass [Plaintiffs]." ( j d )

     Plaintiffs note that they acquired the camera system

on or about May 15, 2015, and that they left it up for a

couple of days and then stopped using it.                 (Resp. Mot.

Sanctions at 3-4.)       Plaintiffs stated that they did not file

their Complaint until December 18, 2015.                    ( j d at 4.)

Plaintiffs note that they have attempted to retrieve the

videos on the system, but that the system is password-

protected and they cannot recall the password.                      (id)

Plaintiffs stated that they offered the hard drive to

Defendants' counsel, who refused it. ( i d at 5.)

     Plaintiffs argue that Rule 37(e) only applies where

electronically stored information is lost, and notes that the
                                   22
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information at issue here is not lost.                   (Resp.       Mot.

Sanctions at 7.)          Plaintiffs simply cannot access                it

because      they    cannot      recall   the    password.            (Id.)

According to Plaintiffs, offering the hard drive to the

Forestar     Defendants       for   analysis     satisfies    Plaintiffs'

obligations under Rule 34(a)(1)(A).             (Jd at 8.)     Plaintiffs

argue that the temporary difficulties in obtaining the video

files from the system do not equate to spoliation, (id.)

       Alternatively, Plaintiffs argue that they had no duty to

preserve evidence when the videos were taken.                       (Resp.

Mot. Sanctions at 9.) Plaintiffs argue that they recorded

the videos before they retained counsel, (id.) According

to Plaintiffs, "any videos on the hard drive were recorded

well before the duty to preserve was triggered."                    (id, at

10.)
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     Plaintiffs also argue that the Forestar Defendants

suffered no prejudice.        (Resp. Mot. Sanctions at 10-12.)

Plaintiffs note that they did not act in bad faith. ( I d at 11.)

Plaintiffs state that "it is not clear that videos on the

system would show any rain event, let alone 'key footage

of a complete rainfall event.'"         (Id)    Plaintiffs argue that

the Forestar Defendants "were present at, and have

equal or superior knowledge of, all on-site rain events

that have occurred," and that the General Permit required

the Forestar Defendants "to observe, document, and

report all discharges to Little Pumpkinvine Creek that

flowed through [Plaintiffs'] property."          (jd)    According to

Plaintiffs, the Forestar Defendants fail to mention that

Plaintiffs "have produced dozens of photographs and

videos of flooding at their property taken over several
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years." (Id, at 12.) Plaintiffs note that it is not clear how

the footage would show how the swales impacted the

stormwater runoff, noting that the cameras were active for

a short time and the installation of the swales was not

completed until 2016.          (Id,)    Plaintiffs contend that the

Forestar Defendants' argument that the videos could

show that erosion and settlement controls were in place

and functioning properly, that there was no sediment-

laden stormwater, and that others were responsible for

Plaintiffs'   damages,      "is   conjecture,      speculation,        and

wishful thinking." ( j d a t 13.)

     Plaintiffs also argue that forgetting a password after

several years is not the same as deleting evidence.

(Resp.    Mot.    Sanctions       at    14-15.)     Plaintiffs      further

contend that they did not act with intent to deprive the
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Forestar Defendants of any evidence,                  (id, at 16-17.)

Alternatively, Plaintiffs argue that even if they were

careless in maintaining access to the system, "this would

not warrant severe spoliation sanctions." (Id, at 17.)

     In their reply, the Forestar             Defendants cite the

Vansants' testimony to support their contention that the

cameras were in place for up to six months and to

support their claim that Plaintiffs misstated the timeline for

the cameras. (Reply Supp. Mot. Sanctions (Docket Entry

No. 104) at 1-3.)        The Forestar Defendants argue that

"placing a burden on the Forestar Defendants to establish

the number of days or months the recording system was

in place would be unjust."              (Id, at 4.)     The Forestar

Defendants also take issue with Plaintiffs' timeline, citing

Plaintiff Anthony       Coward's        deposition    testimony     and
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Plaintiffs' other statements concerning videos.                (Id, at 4-

6.)    The     Forestar     Defendants       argue      that   Plaintiffs

nonetheless had a duty to preserve the videos, as they

anticipated litigation when they installed the                  camera

system. (Id, at 6-7.) The Forestar Defendants point out

that Plaintiffs produced photos and videos taken shortly

after they claimed they installed and removed the camera

system, indicating that "Plaintiffs understood that video

evidence purportedly taken during this timeframe was

relevant to the litigation."            (Id, at 7.)     The Forestar

Defendants       complain      that      statements      in    Plaintiffs'

affidavits indicate that "the video system was in place

and/or that Plaintiffs had access to the video system

during the pendency of the case."               (jd,)    The Forestar



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Defendants argue that            Plaintiffs anticipated        litigation

before filing this suit. (Jd,at7-8.)

     The Forestar Defendants argue that Plaintiffs' offer to

produce the locked hard drive does not comply with Rule

34, which requires that electronically stored information

be produced in a reasonably useable format.                         (Reply

Supp. Mot. Sanctions at 8-9.)           The Forestar Defendants

also contend that failing to produce the password renders

the hard drive inaccessible, giving rise to a spoliation

inference.      (Id at 9-10.)        According to the Forestar

Defendants, because the videos are inaccessible, the

videos are lost for purposes of Rule 37(e). ( j d at 10.)

     The     Forestar     Defendants       argue that they           have

suffered prejudice, contending that the camera system

may have been in place for up to six months.                        (Reply
                                   28
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Supp.     Mot.    Sanctions       at    10-11.)          The    Forestar

Defendants argue that they do not have the burden to

establish prejudice, and that Plaintiffs instead bear the

burden to show a lack of prejudice. (Id, at 11 -13.)

     According to the Forestar Defendants, sanctions are

warranted. (Reply Supp. Mot. Sanctions at 13-15.) The

Forestar     Defendants       contend      that,    at    a    minimum,

sanctions under Rule 37(e)(1) are warranted. (Id, at 14.)

The Forestar Defendants further argue that "[t]he new

evidence suggests that Plaintiffs' conduct may have been

more than accidental."          (Id,) The Forestar Defendants

add a new request: that the Court "prohibit Plaintiffs from

relying on other videos they have produced." (Jd,)




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     B.    Analysis

     "Spoliation is the destruction or significant alteration

of evidence, or the failure to preserve property for

another's use as evidence in pending or reasonably

foreseeable litigation."       Marshall v. Dentfirst, P.C., 313

F.R.D. 6 9 1 , 694 (N.D. Ga. Mar. 24, 2016)                    (internal

quotation marks and citation omitted).              "A party seeking

spoliation sanctions must prove that (1) the missing

evidence existed at one time; (2) the defendant had a

duty to preserve the evidence; and (3) the evidence was

crucial to the plaintiff's prima facie case."                  Id,   "In

considering the particular spoliation sanction to impose,

courts should consider the following factors: (1) prejudice

to the non-spoiling party as a result of the destruction of

evidence, (2) whether the prejudice can be cured, (3)
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practical importance of the evidence, (4) whether the

spoiling party acted in good or bad faith, and (5) the

potential for abuse of expert testimony about evidence

not excluded." I d (internal quotation marks and citation

omitted).

       "Even if the Court finds spoliation, a sanction of

default or an instruction to the jury to draw an adverse

inference from the party's failure to preserve evidence is

allowed only when the absence of that evidence is

predicated on bad faith."          Marshall 313 F.R.D. at 694

(internal quotation       marks and citation           omitted).    "A

showing of bad faith requires the plaintiff to demonstrate

that    a   party   purposely      loses    or    destroys     relevant

evidence."       I d (internal quotation marks and citation

omitted). "Mere negligence in destroying evidence is not
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sufficient    to justify    striking    an   answer."         jd,       "In

determining whether to impose sanctions for spoliation,

;t]he court should weigh the degree of the spoliator's

culpability against the prejudice to the opposing party."

Id, (alteration in original) (internal quotation marks and

citation omitted).

     "Effective December 1, 2015, Rule 37(e) of the

Federal      Rules    of Civil    Procedure      was     amended         to

establish     the    findings    necessary      to   support        certain

curative measures for failure to preserve electronically

stored information." Marshall 313 F.R.D. at 694 (footnote

omitted).       The    "amendment         forecloses      reliance      on

inherent authority or state law to determine when certain

measures should            be   used to address          spoliation      of

electronically stored information."          Id, (internal quotation
                                   32
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marks and citation omitted).            Rule 37(e), as amended,

provides:

     If electronically stored information that should
     have been preserved in the anticipation or
     conduct of litigation is lost because a party failed
     to take reasonable steps to preserve it, and it
     cannot be restored or replaced through
     additional discovery, the court:

     (1) upon finding prejudice to another party from
         loss of the information, may order measures
         no greater than necessary to cure the
         prejudice; or

     (2) only upon finding that the party acted with
         the intent to deprive another party of the
         information's use in the litigation may:

            (A) presume that the lost information was
                unfavorable to the party;

            (B) instruct the jury that it may or must
                presume      the    information  was
                unfavorable to the party; or

            (C) dismiss the action or enter a default
                judgment.
                                   33
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Fed. R. Civ. P. 37(e).

     As an initial matter, the Court finds that Rule 37(e)

applies to the videos at issue.               See Moodv v. CSX

Transp., Inc., 07-CV-6398P, — F. Supp. 3d - - ,                     2017

WL    4173358,       at   *10     (W.D.N.Y.       Sept.    21,      2017)

("Although the laptop itself is tangible evidence, the

electronic information stored within the laptop is the

relevant evidence. . . .        It is the loss of the electronic

evidence stored on the laptop that gives rise to this

dispute—one that falls squarely within the scope of Rule

37(e)."). Here, despite Plaintiffs' arguments, the missing

electronically stored information-the videos-existed at

one time and are no longer accessible due to Plaintiffs'

forgetting the password. The Court finds that the videos

have indeed been spoliated. See Brown Jordan Int'L Inc.
                                   34
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V. Carmicle, 2016 WL 815827, at *38 (S.D. Fla. Mar. 2,

2016) ("In failing to provide the password or PIN required

to unlock the Company-owned laptop . . . , Carmicle

rendered that laptop inaccessible."); see also Moodv,

2017 WL 4173358, at *12 ("[A] party's failure to maintain

electronic data in an accessible format may constitute

sanctionable conduct.").^




      Simply offering to provide the locked hard drive to the
Forestar Defendants does not comply with Plaintiffs' duty under
Federal Rule of Civil Procedure 34(b)(2)(E)(ii) to produce
electronically stored information "in a reasonably usable form or
forms." Fed. R. Civ. P. 34(b)(2)(E)(ii); see also D'Onofrio v. SFX
Sports Grp.. Inc., 254 F.R.D. 129, 134 (D.D.C. Oct. 29, 2008)
(noting that counsel "cannot be suggesting that it would make
any sense to produce e-mails that no one can read or use," and
stating that "if electronically stored information is newly
discovered by plaintiff's expert's search, defendants are obliged
to restore the items during the search, if such restoration is
necessary to render the electronically stored information
'reasonably usable,' capable of being read on a computer using
either commonly available word processing software . . . and
without the necessity of having to buy other software because
                                 35
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     The Court need not determine whether                     Plaintiffs

installed and removed the cameras before they retained

counsel and filed this litigation. It is clear from the record,

including Plaintiffs' other videos taken before Plaintiffs

filed this lawsuit, that Plaintiffs anticipated litigation when

they installed and removed the cameras.                    The Court

therefore finds find that Plaintiffs had a duty to preserve

that evidence.        See Marten Transp., Ltd. v. Platform

Advert., Inc., Case No. 14-CV-02464-JWL-TJJ, 2016 WL

492743, at *5 (D. Kan. Feb. 8, 2016) ("With respect to

timing, the duty to preserve definitely exists upon the

filing of a lawsuit, but the duty may arise even before a

lawsuit is filed if a party has notice that future litigation is



only that software renders the restored e-mail."                (footnote
omitted)).
                                   36
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likely.    Notice invoking a duty to preserve may be

triggered by different events, but most commonly, a party

is deemed to have such notice if the party has received a

discovery request, a complaint has been filed, or any time

a party receives notification that litigation is likely to be

commenced." (internal quotation marks and footnotes

omitted)); see also Marshall, 313 F.R.D. at 695 (noting

that, although the duty to preserve usually arises when

the complaint is filed, it can arise earlier "at the point

where relevant individuals anticipate becoming parties in

imminent litigation" (internal quotation marks and citation

omitted)).

     The Court also must determine whether Plaintiffs

took reasonable steps to preserve the videos at issue.

"Due to the ever-increasing              volume of       electronically
                                   37
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stored information and the multitude of devices that

generate such information, perfection in preserving all

relevant     electronically          stored     information       is     often

impossible."     Marten Transp., Ltd., 2016 WL 492743, at

*4.    "[T]he routine, good-faith operation of an electronic

information system would be a relevant factor for the

court to consider in evaluating whether a party failed to

take    reasonable      steps to         preserve       lost   information,

although the prospect of litigation may call for reasonable

steps to preserve information by intervening                           in that

routine operation."            Id,      "This    rule recognizes          that

'reasonable steps' to preserve suffice; it does not call for

perfection." j d .

       The   Court     finds     that      Plaintiffs    failed    to     take

reasonable steps to preserve access to the videos at
                                      38
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issue. While memory of passwords may fade over time,

Plaintiffs' actions here were not clearly reasonable.

     The Court next must determine whether to impose

sanctions.      "Rule 37 provides two paths for imposing

sanctions, detailed in subsections              (e)(1) and (e)(2)."

O'Berrv v. Turner Civil Action Nos. 7:15-CV-00064-HL,

7:15-CV-00075-HL, 2016 WL 1700403, at *3 (M.D. Ga.

Apr. 27, 2016).           "Each     subsection      carries    different

requirements and available sanctions." \ ±

     "To impose sanctions under Rule 37(e)(1), the court

must find that the opposing party was prejudiced by the

loss of the [electronically stored information]."              O'Berrv,

2016 WL 1700403, at *3. "If the court finds that a party is

prejudiced by the failure to preserve, the court has broad

discretion to impose sanctions, but 'may order measures
                                   39
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no greater      than      necessary     to   cure   the     prejudice.'"

Id, (quoting Fed. R. Civ. P. 37(e)(1)). "Subsection (e)(1)

does not limit the court to specific sanctions, but does

provide some examples of sanctions that the court might

impose." Id, "The advisory committee notes explain that

the court could: (1) not allow the party responsible for the

destruction of the [electronically stored information] to

introduce any evidence about that data; (2) allow the

party prejudiced to introduce evidence                     or make    an

argument to the jury regarding the effect of the loss of the

[electronically stored information]; or (3) give instructions

to the jury to assist them in evaluating the evidence

introduced        or      arguments       made       regarding       the

 electronically        stored   information]."       id,     "The    only

limitations on the sanctions available to the court are that
                                   40
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the measure ordered must be no greater than necessary

to cure the prejudice." Id,

       The Court finds that the loss of the videos is

prejudicial to the Forestar Defendants.                 Certainly, the

videos at issue would be helpful in evaluating the merits

of the Parties' positions. Under those circumstances, the

loss    of   the   videos     is   prejudicial     to   the    Forestar

Defendants.          Plaintiffs'   arguments        concerning       the

Forestar Defendants' failure to show prejudice are not

persuasive, as courts have concluded that the                       party

accused of spoliating evidence, not the party moving for

spoliation sanctions, bears the burden of showing the

lack of prejudice. See Ala. Aircraft Indus., Inc. v. Boeing

Co., 319 F.R.D. 730, 742 (N.D. Ala. Mar. 9, 2017) ("[l]n

spoliation cases, courts must not hold the prejudiced
                                   41
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party to too strict a standard of proof regarding the likely

contents of the destroyed evidence because doing so

allows the spoliators to profit from the destruction of

evidence."      (internal     quotation       marks     and     citation

omitted)); id, at 743 ("While the burden of establishing

prejudice generally falls on the party seeking sanctions,

the court is cognizant that AAI will likely never be able to

prove what was contained in the destroyed evidence. In

such a situation, only the party that engaged in the

destruction knows how much prejudice has been caused

(or   potentially    caused)      by    the   destruction,      (citation

omitted)); Tavlor v. Mitre Corp., Civil Action No. 1:11-CV-

1247, 2012 WL 5473573, at *3 (E.D. Va. Nov. 8, 2012)

("[A] party moving for sanctions based on spoliation is not

required to prove the content of deleted documents. That
                                   42
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burden falls to the accused spoliator." (citations omitted));

Brown v. Chertoff, 563 F. Supp. 2d 1372, 1379 (S.D. Ga.

June 18, 2008) ("To require a party to show, before

obtaining sanctions, that unproduced evidence contains

damaging information would simply turn 'spoliation law'

on its head." (emphasis in original)). Further, given that

we do not know what may be on the videos and that the

videos may depict rain events that occurred                         before

certain measures were taken, it is not clear that the

allegedly spoliated information can be replaced through

additional discovery or by the other videos that Plaintiffs

produced.      See Ala. Aircraft Indus., Inc., 319 F.R.D. at

743 ("Because the information at issue is not even

identifiable, and certain other ESI was not preserved, the

allegedly spoliated ESI cannot be restored or replaced
                                   43
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through additional discovery."). Here, the Court finds that

the videos depicted at least some rain event and would

be   relevant      to   Plaintiffs'    claims     or   the     Forestar

Defendants' defenses.           The Court therefore concludes

that the Forestar Defendants have suffered prejudice

from the loss of the videos.

     The Court, however, declines to impose sanctions

under Rule 37(e)(2), because the Forestar Defendants

have not shown that Plaintiffs acted in bad faith or with

intent to deprive the Forestar Defendants of the use of

the information in this litigation.^ Certainly, Plaintiffs could

have taken greater care to preserve the password for the


^     "Unlike subsection (e)(1), subsection (e)(2) does not require
a finding that the opposing party was prejudiced by the failure to
preserve the electronically stored data. Prejudice is inferred by
the court's finding of intent." O'Berrv, 2016 WL 1700403, at *4
(citations omitted).
                                 44
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camera      system.       At   most,     however,      the    evidence

indicates    that   Plaintiffs were       negligent      or   careless.

Negligence on Plaintiffs' part, however, is not sufficient to

allow the Court to draw an adverse inference against

Plaintiffs or to give an adverse jury instruction against

Plaintiffs under Rule 37(e)(2).           See O'Berrv, 2016 WL

1700403, at M (noting that Rule 37(e)(2) "only applies if

the Court finds that the party failed to preserve the data

intentionallv, in order to deprive the opposing party of its

use in litigation" (emphasis in original)); see also Storey v.

Effingham Ctv., CV415-149, 2017 WL 2623775, at M

(S.D. Ga. June 16, 2017) ("Rule 37(e) reserves the

harshest discovery sanctions, such as adverse inference

instructions, dismissals, or default judgments, only for

cases in which the court can 'fin[d] that the [spoliating;
                                   45
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party acted with the intent to deprive another party of the

information's use in the litigation.'" (alterations in original)

(quoting Fed. R. Evid. 37(e)).

       The Court must determine what sanctions to impose

under Rule 37(e)(1).          Importantly, "[d]istrict courts have

broad discretion to impose sanctions."                  Pace v. Nat'l

Union Fire Ins. Co. of Pittsburgh, Civil Action File No.

1:12-CV-3096-MHC, 2015 WL 11199154, at *2 (N.D. Ga.

Feb.     3,    2015).      "Spoliation      sanctions   may     include

dismissal, exclusion of testimony, or an instruction to the

jury to presume that the evidence would have been

unfavorable to the spoliator." Storey, 2017 WL 2623775,

at *2.

       After    considering     the       circumstances      and     the

evidence        in   the   record,    the    Court   finds    that   the
                                     46
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appropriate sanction is to allow the Forestar Defendants

to introduce evidence concerning the loss of the videos

and to make an argument to the jury concerning the

effect of the loss of the videos.           See Storey, 2017 WL

2623775, at *5 (issuing sanctions for spoliation of videos

in the form of having the court tell the jury that the videos

were not preserved, allowing the parties to                     present

evidence and argument at trial regarding the destruction

of, or failure to preserve, the videos, and precluding

evidence or argument that the contents of the videos

corroborated the defendants' version of events); see also

Jenkins v. Woodv, Civil Action No. 3:15CV355, 2017 WL

362475, at *18 (E.D. Va. Jan. 2 1 , 2017) (ordering similar

sanctions for an automatically overwritten video); Jain v.

Memphis Shelbv Ctv. Airport Auth., No. 08-2119-STA-
                                   47
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dkv, 2010 WL 711328, at *5 (W.D. Tenn. Feb. 25, 2010)

(granting the plaintiffs request for a jury                 instruction

concerning a permissible inference that a missing video

would     have      contained        evidence       unfavorable      to

Defendants).       The Court declines to draw an adverse

inference against Plaintiffs or to issue a jury instruction

directing the jury that it must presume that the missing

videos would be adverse to Plaintiffs or favorable to the

Forestar Defendants. The Court also rejects the Forestar

Defendants' request that the Court preclude Plaintiffs

from presenting any video evidence at all.

     The Court declines to require Plaintiffs to pay the

Forestar Defendants' attorney's fees associated with the

Motion for Sanctions. The Forestar Defendants and their

counsel do not appear to have engaged in any real effort
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to confer and resolve this dispute before racing to the

Court with it. At most, the Forestar Defendants' counsel

has exchanged a volley of letters and e-mails                       with

Plaintiff's counsel.       This is not a serious, good faith

attempt to confer, and the Court will not reward it by

requiring    Plaintiffs   to   pay      the   Forestar    Defendants'

attorney's fees.

     In sum, the Court finds that spoliation has occurred,

and that sanctions against Plaintiffs are warranted under

Rule 37(e)(1). The Court, however, cannot conclude that

Plaintiffs acted in bad faith or with intent to deprive the

Forestar Defendants of the videos at issue.                 The Court

also finds that the sanctions requested by the Forestar

Defendants are too drastic. Instead, the Court will simply

allow the Forestar Defendants to introduce                    evidence
                                   49
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concerning the loss of the videos and to make an

argument to the jury concerning the effect of the loss of

the videos.

III.   Conclusion

       ACCORDINGLY, the Court G R A N T S IN P A R T AND

DENIES IN PART the Forestar Defendants' Motion for

Sanctions [97]. The Court GRANTS the Motion only insofar

as the Court will allow the              Forestar     Defendants    to

introduce evidence concerning the loss of the videos and

to make an argument to the jury concerning the effect of

the loss of the videos. The Court DENIES the Motion in




                                   50
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all other respects.

     IT IS SO ORDERED, this the                   day of November,

2017.




                                             ESID16TRICT JUDGE




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